Case 2:17-cv-04983-TJH-KS Document 62 Filed 07/02/19 Page 1 of 2 Page ID #:1302


     MARK D. BRUTZKUS - Bar No. 128102
 1   MICHAEL A. BERNET - Bar No. 306657
     BRUTZKUS GUBNER
 2   21650 Oxnard Street, Suite 500
     Woodland Hills, CA 91367
 3   Telephone:       (818) 827-9000
     Facsimile:       (818) 827-9099
 4   Email:           mbrutzkus@bg.law
                      mbernet@bg.law
 5
     HARLAN M. LAZARUS (Admitted Pro Hac Vice)
 6   LAZARUS & LAZARUS P.C.
     240 Madison Avenue, 8th Floor
 7   New York, NY 10016
     Telephone: (212) 889-7400
 8   Email:           hlazarus@lazarusandlazarus.com
 9
     Attorneys for Defendant/Counterclaimant, DIGITAL GADGETS, LLC
10

11                         UNITED STATES DISTRICT COURT

12
                         CENTRAL DISTRICT OF CALIFORNIA

13
     Interworks Unlimited, Inc., a California )   Case No. 2:17-cv-4983 TJH (KSx)
     corporation,
                                              )
14                                            )   NOTICE OF HEARING
                   Plaintiff,
15                                            )   CONCERNING DEFENDANT’S
           v.
                                              )   MOTION TO DISMISS PURSUANT
16
                                              )   TO FRCP 12(b)(1)
     Digital Gadgets, LLC., a New Jersey
17                                            )
     limited liability company,
                                              )
18
                                              )
                          Defendant.
19                                            )
     ________________________________
                                              )   DATE: JULY 29, 2019
20
                                              )
     Digital Gadgets, LLC., a New Jersey          TIME: UNDER SUBMISSION
21                                            )
     limited liability company,
                                              )   COURTROOM: 9B
22
                                              )
                          Counterclaimant,
23                                            )
                    v.
                                              )
24
                                              )
     Interworks Unlimited, Inc., a California
25                                            )
     corporation,
                                              )
26
                                              )
                          Counter-defendant
27

28


                                                  1
                                       NOTICE OF HEARING
Case 2:17-cv-04983-TJH-KS Document 62 Filed 07/02/19 Page 2 of 2 Page ID #:1303



 1   TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that pursuant to the Court’s instructions,
 3   Defendant/Counterclaimant, DIGITAL GADGETS, LLC hereby files this notice that it
 4   will move this Court on July 29, 2019 for an order dismissing this matter for lack of
 5   subject matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1) on January 29, 2019 (the
 6   “Motion”).
 7         This Motion is based on the Notice of Motion, the Memorandum of Points and
 8   Authorities and the Declaration of Harlan M. Lazarus, previously filed on July 1, 2019
 9   (ECF Doc 61), the papers and pleadings on file herein, and upon such other evidence
10   and argument as may be presented.
11

12

13   Dated: July 2, 2019                          LAZARUS AND LAZARUS, P.C.
14
                                                  By: /s/ Harlan M. Lazarus
15                                                    HARLAN M. LAZARUS, ESQ.
16
                                                  Attorneys for Defendant/Counter-
                                                  claimant, DIGITAL GADGETS, LLC
17

18

19

20

21

22

23

24

25

26

27

28


                                                2
                                       NOTICE OF HEARING
